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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


  Civil Action No.: 20-cv-02702-SKC

  KATELYN SCHILLER,

          Plaintiff;

  v.

  THE BOARD OF GOVERNORS OF THE COLORADO STATE UNIVERSITY
  SYSTEM, BY AND ON BEHALF OF COLORADO STATE UNIVERSITY;
  OVATIONS FOOD SERVICES, LP (d/b/a SPECTRA FOOD SERVICES AND
  HOSPITALITY);
  MICHAEL BEST; and
  SCOTT SCHELL,

          Defendants.


                   SECOND AMENDED COMPLAINT AND JURY DEMAND



         COMES NOW Plaintiff, by and through undersigned counsel, Baumgartner Law, L.L.C.,

  and Beem & Isley, P.C., and hereby respectfully submits this Complaint against the Defendants

  and alleges and avers as follows:

                                  I. JURISDICTION AND VENUE

  1.     This action is brought pursuant to the Fourteenth Amendment to the United States

  Constitution, 42 U.S.C. § 1983; 42 U.S.C. § 1988; 20 U.S.C. § 1681-1688 (Title IX of the

  Education Amendments of 1972); 42 U.S.C. § 2000e (Title VII of the Civil Rights Act of 1964);

  and 29 U.S.C. 701 and 794 (Section 504 of the Rehabilitation Act of 1973); and Colorado State

  Common Law. Jurisdiction is founded upon 28 U.S.C. § 1331, §1343(a)(3) and (4), and 28.

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  U.S.C. §1367 (Supplemental Jurisdiction), and the aforementioned statutory and constitutional

  provisions.

  2.     Venue is proper in the United States District Court for the District of Colorado pursuant

  to 28 U.S.C. §1391(b) because the Defendants are citizens and residents of Colorado, and the

  events, acts, and/or omissions giving rise to this action occurred in Colorado.

                                             II. PARTIES

  3.     Plaintiff, Katelyn Schiller (“Plaintiff”), is and was at all relevant times a resident of the

  State of Colorado residing in Fort Collins, Colorado.

  4.     Defendant, The Board of Governors of the Colorado State University System, by and on

  behalf of Colorado State University (“Colorado State University” or “CSU”), is a public

  university located in Fort Collins, Colorado, and receives federal financial assistance within the

  meaning of 20 U.S.C. § 1681-1688.

  5.     Defendant Ovations Food Services, LP (d/b/a Spectra Food Services and Hospitality)

  (“Spectra”) is a Pennsylvania-based entertainment company. Spectra is principally owned by

  Comcast Spectacor, a Pennsylvania-based corporation licensed to transact business in the State

  of Colorado with its principal place of business address at 3601 South Broad Street, Philadelphia,

  Pennsylvania 19148. Spectra provides food and drink services to Colorado State University at

  its football stadium. Spectra transacts business in the State of Colorado, including providing

  stadium food and beverage services to Colorado State University.

  6.     Defendant Michael Best (“Best”) is and was at all relevant times a resident of the State of

  Colorado residing at 10227 Hexton Court, Lone Tree, Colorado 80124.




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  7.     Defendant Scott Schell (“Schell”) is and was at all relevant times a resident of the State

  of Colorado residing at 4448 Cedarpoint Place, Highlands Ranch, Colorado 80130.

                                  III. GENERAL ALLEGATIONS

  8.     At the time of the incidents subject to this complaint, Plaintiff was a 19-year-old

  undergraduate student at Colorado State University, who was working for Spectra part time as a

  server at CSU football games.

  9.     Spectra was operating a food and beverage company that serviced the Colorado State

  football stadium through a contract with Colorado State University.

  10.    Ms. Schiller was assigned to serve the high-value, financially well-off patrons who

  watched the CSU football games from “loge boxes,” which are outdoor private seating areas

  with controlled access. This server position was desirable because Plaintiff earned most of her

  income from tips, because she was able to watch the football games, and because she was able to

  interact with fans and successful members of the community in the loge boxes, many of whom

  were CSU alumni.

  11.    On September 7, 2019, Plaintiff was working for Defendant Spectra as a server in a loge

  box that had been reserved for the season by successful CSU alumni, Defendant Michael Best,

  and his wife, Susie Wargin. During this and subsequent games, the couple invited friends to sit

  in the area to watch the games with them.

  12.    During the course of the September 7, 2019 game, Defendant Michael Best arrived at the

  loge box and loudly announced that he was “wasted.”         Ms. Schiller and other employees

  observed that Mr. Best was highly intoxicated.




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  13.    During the course of the September 7, 2019 game, Defendant Best grabbed Ms. Schiller

  several times, including grabbing her by the extreme upper thigh immediately adjacent to her

  vagina, causing her bruises. In addition, Defendant Best, who was highly intoxicated at the time

  of this interaction, dragged Plaintiff around the box, calling her and her co-worker “bitch” on

  several occasions.

  14.    Defendant Best’s inappropriate sexual advances and physical assaults were non-

  consensual. His use of profanity while doing so caused Plaintiff to be intimidated and scared.

  15.    Immediately after this incident, Plaintiff and her female coworker informed her

  supervisor, Gretchin Tribken, about the unwanted sexual touching, sexual harassment, name

  calling, and assaults that were occurring in the private seating area. Ms. Tribken told both Ms.

  Schiller and her coworker that the behavior was not okay. However, Ms. Tribken took no

  protective actions.

  16.    At this time Plaintiff also learned from a coworker that Defendant Best and the guests at

  his loge box had committed similar acts against other young girls at football games in the past,

  and that no action had been taken by Defendant Spectra or Defendant CSU.

  17.    On September 21, 2019, Plaintiff was again assigned to serve Defendant Best’s private

  box. Once again, Defendant Best became highly intoxicated and again called both servers

  “bitch” multiple times. He also began touching Plaintiff’s body in an aggressive and sexual

  manner close to her private parts. Defendant Best’s inappropriate sexual advances and assaults

  were non-consensual.




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  18.    Plaintiff immediately notified her supervisor, Gretchin Tribkin, of the unwanted sexual

  touching and sexual harassment. No action was taken by Plaintiff’s employer to prevent further

  sexual harassment by Defendant Best.

  19.    However, Defendant Spectra did notify CSU Athletics Department, specifically Joe

  Parker, the Athletics Director. Mr. Parker walked down to Defendant Best’s loge box and spoke

  to Defendant Best and his guests about Ms. Schiller’s complaints.

  20.    Mr. Parker was aware of Mr. Best’s behavior and failed to take any action to remedy the

  assaults or prevent future assaults from occurring.

  21.    After speaking to Mr. Parker, Mr. Best immediately asked Ms. Schiller to close out his

  alcohol tab, which she did. When presented with bill, Mr. Best offered Ms. Schiller a separate

  cash tip on top of and in addition to a credit card tip, telling her that he wanted her to have a cash

  tip that she did not have to share with the other servers.

  22.    Ms. Schiller felt that this offer of a secret cash tip was a clear attempt to buy her silence

  for his mistreatment.

  23.    As Ms. Schiller was closing out the tab, Mr. Best asked her several times if he was going

  to see her again, and if she was going to be his server for the rest of the season. He continued to

  touch Ms. Schiller during this interaction.

  24.    On October 5, 2019, Plaintiff was once again assigned by Spectra to serve Defendant

  Best’s private box during a CSU football game despite her repeated complaints.

  25.    Before the game began, Ms. Tribken told Ms. Schiller that one of the four men from the

  September 21st game had been banned from the stadium, although she did not disclose his name.




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  26.    When Ms. Schiller began service at the loge boxes, she saw that Mr. Best was once again

  present.

  27.    Present at this game in Defendant Best’s box was Defendant Scott Schell.

  28.    Defendant Scott Schell was also highly intoxicated at this game and immediately began

  touching Plaintiff in a sexual manner, caressing her hips, touching her inner thigh, putting his

  hands in Plaintiff’s pockets and reaching his fingers into Plaintiff’s pubic area directly above her

  vagina. In addition, Defendant Schell grabbed Plaintiff by the back of her neck and directed her

  around the private box.

  29.    Defendant Best also continued to inappropriately touch Ms. Schiller during the game.

  30.    Ms. Schiller’s family attended that game, and her father witnessed the inappropriate

  touching of his daughter.

  31.    Ms. Schiller again informed Ms. Tribken of the harassment, and Ms. Tribken told her she

  was going to call security. However, no security ever arrived, and Ms. Tribken apparently took

  no action whatsoever.

  32.    Thirty minutes after Ms. Schiller made her complaint to Ms. Tribken, Mr. Schell and Mr.

  Best who had gone missing from the box, returned to the loge box and resumed touching and

  rubbing her body.

  33.    The physical abuse caused Ms. Schiller extreme emotional damage. At one point during

  the game, she retreated to the restroom and cried. Ms. Schiller’s employer was aware of this.

  34.    Immediately after the October 5, 2019 incidents, and during the game, Plaintiff again

  informed her employer, Defendant Spectra, of the unwanted sexual advances and harassment by

  both men. Defendant Spectra did not attempt to extricate Plaintiff from this unwanted and


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  dangerous situation, instead allowing Defendants Best and Schell to continue groping Plaintiff

  throughout the rest of the October 5, 2019 football game.

  35.    On October 15, 2019, Ms. Schiller attended a meeting with two Spectra supervisors,

  Shawn Sumstein, and Karla Lewis, the general manager.           During this meeting, both Mr.

  Sumstein and Ms. Lewis told Ms. Schiller that the behavior she experienced was “horrendous.”

  However, Ms. Lewis told Ms. Schiller that they could not refuse service to Mr. Best or his guests

  because Spectra is contracted by CSU and Mr. Best is a client of CSU Athletics. Ms. Lewis

  thereby intentionally refused to take protective actions against Mr. Best’s and his guests’ sexual

  harassment against Ms. Schiller.

  36.    Ms. Lewis also told Ms. Schiller that filing a complaint with Spectra’s Human Resources

  Department would not have any effect, because the situation did not involve a Spectra employee,

  only a customer. In this way, Ms. Lewis also intentionally failed to take protective actions

  against the sexual harassment Ms. Schiller was experiencing.

  37.    On October 23, 2019, Plaintiff attended a meeting with Defendant Lewis, and the CSU

  Deputy Athletics Director, Steve Cottingham, regarding the repeated sexual assaults and

  harassment occurring at work and on the campus of Colorado State University. This meeting

  was arranged by Karla Lewis and Steve Cottingham.

  38.    At this meeting, Steve Cottingham repeatedly minimized the seriousness of the behavior

  of Defendant Best and Defendant Schell. He repeatedly challenged Ms. Schiller on the level of

  Defendant Best’s involvement, and implied that Defendant Best’s intentions could not be known.

  39.    During this meeting it became clear to Ms. Schiller that Mr. Cottingham’s primary goal

  was to advocate for and protect Defendant Best.


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  40.    At the end of this meeting, Ms. Schiller expressly asked for Defendant Best to be barred

  from the stadium to ensure no further incidents occurred.

  41.    When Ms. Schiller left the October 23rd meeting, Shawn Sumstein informed her that Mr.

  Best and Susie Wargin were very important boosters to the CSU Athletics program and that they

  had personal relationships with Joe Parker, the Athletics Director. Mr. Sumstein informed Ms.

  Schiller that just a few days before, Mr. Parker invited Defendant Best and Susie Wargin to be

  guests at his table at a booster’s brunch at the stadium. Mr. Parker had already been informed of

  Mr. Best’s assaults, but still decided to host Mr. Best and Susie Wargin at the brunch.

  42.    In fact, through a Colorado Open Records Act request for information, Ms. Schiller has

  learned that Defendant Best’s wife, Susie Wargin, sent an email to CSU in which she used her

  friendship with the Athletics Department officers and her booster status as a means to pressure

  CSU Athletics to protect Defendant Best and to harm Ms. Schiller.

  43.    On October 30, 2019, at 6:56 a.m., Susie Wargin sent an email to Steve Cottingham and

  the CSU Athletics Director, David Crum, in which she expressed anger that Plaintiff was not

  removed immediately from her position due to her complaint. She went on to write, “I write a

  lot of checks to Athletics and the University. We have been nothing but stand-up alums and

  supporters for decades.” She continued, “I know you have a lot on your plate. We are one of

  many items, however we are also friends.”           No responsive email by Mr. Crum or Mr.

  Cottingham was included in the CORA materials, nor were any notes of any telephone calls

  between Susie Wargin and CSU Athletics after her email was sent.

  44.    However, just hours later on October 30, 2019, Ms. Schiller received a text message from

  Defendant Lewis informing her that CSU had reached a decision regarding Defendant Best.


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  45.    Ms. Schiller attended a second meeting that day with Steve Cottingham and Karla Lewis.

  At this meeting, Ms. Schiller learned that Steve Cottingham and Karla Lewis had already

  decided that Spectra would continue serving alcohol to Defendant Best and his guests. In fact,

  Plaintiff learned that Defendant Best was going to be upgraded from a “loge box” to a

  Presidential Suite for future football games.

  46.    At this meeting, Steve Cottingham stated to Plaintiff that nobody with Defendant Best’s

  “sort of financial commitment” to the university had ever been “sanctioned” like that before.

  47.    Ms. Schiller asked if Mr. Best would be allowed to return to the loge box next season,

  and she was informed that he would.

  48.    After the October 30, 2019 meeting, Ms. Schiller sent an email to Defendants Spectra and

  CSU expressing her shock and anger: not only would Defendant Best be served at games going

  forward, but also that he would be rewarded with an upgraded private seating area from which to

  watch future games.

  49.    Karla Lewis responded to Ms. Schiller’s email by informing her that she had discussed

  the situation with Steve Cottingham, and it had been decided that Ms. Schiller could continue to

  work for Spectra, but she would be demoted to a lesser position with significantly less ability to

  earn income. Specifically, she would have to work in the “pantry” stocking the items she

  previously served to guests and assisting servers. She would no longer interact with guests or

  her friends who also worked as servers, and she would no longer receive tips. This decision was

  made by Karla Lewis, Defendant Spectra and Steve Cottingham together.

  50.    Plaintiff resigned her position with Defendant Spectra as a result of her constructive

  termination rather than being reassigned to a significantly lesser role where she would earn less


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   income. She would also have to continue to work in the same setting where her attackers would

   be present and would still be consuming alcohol and roaming freely throughout the building.

   51.    The decision to demote Plaintiff to a lesser position within the organization and to

   continue serving her attackers in the same building amounts to a constructive termination of her

   employment.

   52.    The CSU Police Department was finally contacted by Steve Cottingham after he had

   consulted with Defendant Spectra, Susie Wargin, Joe Parker, and likely Defendant Best

   regarding the above incidents of sexual assault and harassment. A criminal investigation was

   initiated by the Colorado State University Police Department and Detective Sean Fitzpatrick was

   assigned to investigate the case.

   53.    After the investigation, the criminal case was presented to the District Attorney for the

   Eighth Judicial District, Amanda Duhon, for a felony filing decision. The matter was screened

   on two separate occasions.

   54.    District Attorney Duhon stated that “the SVU team unanimously felt that while we do

   find the victim credible and that she was subjected to unwanted sexual contact, we do not believe

   the case can be proven beyond a reasonable doubt if the case was filed and proceeded to trial.”

   55.    District Attorney Duhon stated that the reason a conviction was not likely was because

   there was a delay between the dates of the offense and the reporting of the incidents to CSUPD.

   56.    In addition, District Attorney Duhon stated that “despite the fact that the athletics

   department was aware of the complaint, any possible video of the incidents had not been

   retained.” District Attorney Duhon went on to state that surveillance video footage could have

   helped to secure a conviction against Defendant Best, but the evidence was destroyed by CSU


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   Athletics. Finally, District Attorney Duhon states that “if the incidents were reported to CSUPD

   promptly” by CSU Athletics, it is possible the case could have been prosecuted.

   57.    Based on this statement, it is clear that CSU Athletics, in coordination with Defendant

   Spectra, Defendant Best, and Susie Wargin, destroyed the crucial video evidence of the assaults.

   58.    As a result of the harassment, assaults, and the retaliation by Defendant Best, Ms.

   Wargin, Defendant Spectra, and Defendant CSU, Ms. Schiller had to postpone her academic

   pursuits, including missing classes, missing a study-abroad semester, and completion of courses.

   She had to seek psychological counseling. She has been denied other academic advancements,

   including an internship with the District Attorney’s Office.         She has experienced severe

   psychological distress that has manifested itself in painful physical symptoms.

                                     IV. CLAIMS FOR RELIEF

                                         First Claim for Relief

           (Deliberate Indifference to Sexual Harassment in Violation of Title IX of the
                   Education Amendments of 1972 – Against Defendant CSU)

   59.    Plaintiff incorporates by reference herein all preceding allegations set forth in this

   Complaint.

   60.    Prior to filing this action, Plaintiff timely, properly and lawfully exhausted all

   administrative prerequisites, procedures and remedies.

   61.    A plaintiff must allege four factors to state a claim of school district liability under Title

   IX. She must allege that the district (1) had actual knowledge of, and (2) was deliberately

   indifferent to (3) harassment that was so severe, pervasive, and objectively offensive that it (4)

   deprived the victim of access to the educational benefits or opportunities provided by the school.



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   Murrell v. Sch. Dist. No. 1, Denver, Colo., 186 F.3d 1238, 1246 (10th Cir. 1999) (citing Davis v.

   Monroe Cnty. Bd. of Educ., 526 U.S. 629, 638 (1999).

   62.       Title IX reaches institutions and programs that receive federal funds, 20 U.S.C. §

   1681(a).

   63.       Plaintiff is a student at Colorado State University. Plaintiff, as a female, is a member of a

   protected class that has been historically an object of invidious discrimination.

   64.       Defendant CSU, through its Deputy Athletics Director, and through Joe Parker, since

   September 7, 2019, had actual knowledge of, and were deliberately indifferent to, repeated

   reports of sexual assault and harassment against Ms. Schiller by CSU booster Mike Best and his

   guests.

   65.       Defendant CSU’s failure to take any action whatsoever at the appropriate time to stop the

   ongoing sexual assault and harassment, despite their obligation to do so, was clearly

   unreasonable in light of the known facts and circumstances.

   66.       Plaintiff was subjected to gender-based discrimination that was so severe, pervasive and

   objectively offensive that she was denied access to educational opportunities and benefits. To

   put it bluntly, Defendant CSU and Steve Cottingham elected to protect and shelter boosters who

   sexually assaulted one of their young, vulnerable students. They did this for financial benefit.

   67.       In addition, Defendant CSU and Mr. Cottingham’s failure to preserve and/or report the

   incidents of sexual assault and harassment to CSU police resulted in the District Attorney’s

   decision to not file charges against Defendant Best and Defendant Schell. Defendant CSU

   Athletics’ decision to destroy video evidence of the assaults is a reprehensible reaction intended




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   to shield its financial donors from accountability and to allow future illegal actions against other

   young female students.

   68.     As a direct and proximate result of Defendant CSU’s deliberate indifference, Plaintiff

   was subjected to repeated sexual assault, sexual harassment, employment discrimination and

   retaliation.

   69.     The sexual assault, sexual harassment, discrimination and retaliation against Plaintiff

   resulted in loss of academic opportunity, as set forth above, and severe and ongoing emotional

   distress and mental anguish to Plaintiff.      This emotional distress has had serious physical

   manifestations and she continues to suffer from considerable anxiety and emotional distress

   regarding her experience, safety and well-being.

                                        Second Claim for Relief

                   (Violation of Title IX – Retaliation – Against Defendant CSU)

   70.     Plaintiff incorporates by reference herein all preceding allegations set forth in this

   Complaint.

   71.     The Elements of a Title IX retaliation claim are: (1) protected participation or opposition

   under Title IX known by alleged retaliator; (2) action or actions disadvantaging persons engaged

   in protected activities; and (3) causal connection between first two elements, that is, retaliatory

   motive playing part in adverse actions.

   72.     Since September 7, 2019, Defendants have had actual knowledge of, and have been

   deliberately indifferent to, repeated reports of sexual assault and harassment against Plaintiff.

   73.     When Plaintiff reported the sexual assault Defendant CSU and Steve Cottingham took no

   protective action whatsoever.


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   74.    After Defendant CSU knew of the sexual assaults, it deleted the video recordings of the

   assaults, coordinated with Defendant Best and Susie Wargin, and Defendant Spectra to attempt

   to silence Plaintiff. It did not report the sexual assault to police or the District Attorney’s office.

   Mr. Cottingham directed Defendant Spectra to demote Ms. Schiller.              Mr. Cottingham also

   rewarded Defendant Best by giving him a Presidential Suite. Mr. Cottingham also discouraged

   Plaintiff from reporting multiple sexual assaults to the police. Mr. Cottingham used his position

   of authority at the University to intimidate Plaintiff into silence and to force her out of her

   position as a server. Mr. Cottingham did this for financial gain.

   75.    Defendant CSU and Mr. Cottingham’s retaliation was directed by Defendant Best and

   Susie Wargin and was a calculated attempt to silence Plaintiff.

   76.    Mr. Cottingham exploited his position of trust with Plaintiff to keep her quiet and then to

   terminate her from employment.

   77.    Mr. Cottingham intentionally exploited a 19-year-old girl for the sexual gratification of

   financial donors to the football program. Plaintiff is just the latest victim of Defendant Best, Mr.

   Cottingham, and Defendant CSU.

   78.    Plaintiff made complaints about the sexual assaults, and when she refused to accept Mr.

   Cottingham’s approval of Defendant Best’s groping, she was punished severely through removal

   and prohibition from areas of the football stadium; she was denied access to law enforcement

   investigation through destruction of evidence; she was denied full access to the Title IX office

   through the same destruction of evidence; and she was denied of job opportunities enjoyed by

   other students with CSU vendors, namely Defendant Spectra.




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   79.    Defendant CSU’s actions through Mr. Cottingham, and likely through Joe Parker as well,

   were intended to punish Plaintiff for complaining about sexual assaults by a financial donor.

   80.    Defendants’ conduct was the actual and proximate cause of Plaintiff’s claimed injuries,

   damages and losses.

                                       Third Claim for Relief

   (Discrimination on the Basis of Sex in Violation of Title VII of the Civil Rights Act of 1964
                  – Hostile Work Environment – Against Defendant Spectra)

   81.    Plaintiff incorporates by reference herein all preceding allegations set forth in this

   Complaint.

   82.    Prior to filing this action, Plaintiff timely, properly and lawfully exhausted all

   administrative prerequisites, procedures and remedies.

   83.    To establish that a sexually hostile work environment existed, a plaintiff must prove the

   following elements: (1) she is a member of a protected group; (2) she was subject to unwelcome

   harassment; (3) the harassment was based on sex; and (4) due to the harassment’s severity or

   pervasiveness, the harassment altered a term, condition, or privilege of the plaintiff’s

   employment and created an abusive working environment.

   84.    Defendants Best, Spectra and Lewis engaged in unlawful, intentional and willful

   discrimination against Plaintiff on the basis of sex. Defendant Best repeatedly sexually assaulted

   Plaintiff and Defendant Spectra and Karla Lewis had actual knowledge of the same.

   85.    Defendants failed to take any remedial or protective actions, and in fact intentionally put

   Plaintiff back into the same dangerous situation. Karla Lewis and Defendant Spectra knew of

   the sexual assaults, consulted with Defendant CSU, and then intentionally offered Plaintiff up to

   Defendant Best and his rich friends for more sexual assault and harassment.

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   86.    At the time that Defendants Spectra and Lewis engaged in discriminatory actions against

   Plaintiff, Plaintiff was a member of a Title VII protected class because she is a woman.

   87.    The harassment experienced by Plaintiff was so severe and pervasive that it altered a term

   of her employment and created an abusive working environment.

   88.    Defendants’ conduct was the actual and proximate cause of Plaintiff’s claimed injuries,

   damages and losses.

                                       Fourth Claim for Relief

                (Violation of Title VII of the Civil Rights Act of 1964 – Retaliation –
                                     Against Defendant Spectra)

   89.    Plaintiff incorporates by reference herein all preceding allegations set forth in this

   Complaint.

   90.    Prior to filing this action, Plaintiff timely, properly and lawfully exhausted all

   administrative prerequisites, procedures and remedies.

   91.    The elements of a claim for retaliation under Title VII are that (1) the employee engaged

   in protected opposition to discrimination, (2) the employee suffered an adverse employment

   action during or after the protected opposition that a reasonable employee would have found

   materially adverse, and (3) a causal connection between the protected activity and the materially

   adverse action.

   92.    Plaintiff engaged in protected activity when she complained about the sexual harassment

   by a customer, Defendant Best.

   93.    Thereafter, Defendant Spectra took an adverse employment action against Plaintiff by

   assigning her to a less desirable position in which she made less money.



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   94.    Defendant Spectra took this action in direct response to Plaintiff’s complaint and for the

   purpose of maintaining their financial relationship with CSU and Defendant Best.

   95.    As a direct proximate cause of this retaliation, Plaintiff suffered losses and damages as

   set forth above.

                                         Fifth Claim for Relief

                (Assault and Battery – Against Defendant Best and Defendant Schell)

   96.    Plaintiff incorporates by reference herein all preceding allegations set forth in this

   Complaint.

   97.    The elements for a civil cause of action for assault and battery are (1) the defendant

   intended to cause an offensive or harmful physical contact with the plaintiff or intended to place

   the plaintiff in apprehension of such contact, (2) the plaintiff was placed in apprehension of an

   imminent contact with her person by the conduct of the defendant, and (3) a harmful or offensive

   contact with the plaintiff actually occurred.

   98.    Since September 7, 2019, September 21, 2019 and October 5, 2019, Defendant Best

   engaged in a pattern of sexual assault and harassment, including aggressive physical touching on

   or near Plaintiff’s private body parts and threatening verbal statements and harassment. On

   October 5, 2019, Defendant Schell engaged in a pattern of sexual assault and harassment,

   including aggressive physical touching on or near Plaintiff’s private body parts and threatening

   verbal statements and harassment.

   99.    During these incidents, Defendants Best and Schell intended to cause harmful physical

   contact with Plaintiff and actually did cause harmful physical contact with Plaintiff.




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   100.   In addition, Defendants Best and Schell intended to place Plaintiff in fear of offensive or

   harmful physical contact during these incidents.

   101.   As a direct and proximate result of Defendants’ actions, Plaintiff has suffered damages in

   the form of past, present and future emotional distress, humiliation, embarrassment, and great

   mental pain and suffering. Plaintiff also suffered damages in the form of loss of income, and

   past, present and future medical expenses.

                                          Sixth Claim for Relief

                  (Sexual Assault – Against Defendant Best and Defendant Schell)

   102.   Plaintiff incorporates by reference herein all preceding allegations set forth in this

   Complaint.

   103.   The elements of Colorado State law cause of action for Sexual Assault are the same as

   Assault and Battery, except that there is a six-year statute of limitations for sexual assault.

   104.   Since September 7, 2019, September 21, 2019, and October 5, 2019, Defendant Best

   engaged in a pattern of sexual assault and harassment, including aggressive physical touching on

   or near Plaintiff’s private body parts and threatening verbal statements and harassment. On

   October 5, 2019, Defendant Schell engaged in sexual assault and harassment against Plaintiff,

   including aggressive physical touching on or near Plaintiff’s private body parts and threatening

   verbal statements and harassment.

   105.   During these incidents, Defendants Best and Schell intended to cause harmful physical

   contact of a sexual nature with Plaintiff and actually did cause harmful physical contact of a

   sexual nature with Plaintiff.




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   106.   In addition, Defendant Best and Defendant Schell intended to place Plaintiff in fear of

   offensive or harmful physical contact of a sexual nature during these incidents.

   107.   As a direct and proximate result of Defendants’ actions, Plaintiff has suffered damages in

   the form of past, present and future emotional distress, humiliation, embarrassment, and great

   mental pain and suffering. Plaintiff also suffered damages in the form of loss of income, and

   past, present and future medical expenses.


          Respectfully submitted on this 27th day of November 2020.


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